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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                  10/19/2020
KEITH ANDERSON,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-1981 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
BOY SCOUTS OF AMERICA and GREATER NEW                                  :     REASSIGNMENT
YORK COUNCILS, BOY SCOUTS OF AMERICA,                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. This action remains stayed in its entirety pending further order of this Court. The

parties are hereby ordered to continue filing a joint status update every three months pursuant to the

Honorable Jesse M. Furman’s Order dated August 13, 2020 (Dkt. 6), with the next status letter due

December 1, 2020. Unless and until the Court orders otherwise, all prior orders, dates, and

deadlines shall remain in effect notwithstanding the case’s reassignment. Any currently scheduled

conference or oral argument before the Court is adjourned pending further order of the Court.

        SO ORDERED.

Dated: October 18, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
